Case 5:23-cv-00032-RWS Document 59-4 Filed 12/08/23 Page 1 of 19 PageID #: 995




                  Exhibit A
Case 5:23-cv-00032-RWS Document 59-4 Filed 12/08/23 Page 2 of 19 PageID #: 996




                                                                            App. 006
Case 5:23-cv-00032-RWS Document 59-4 Filed 12/08/23 Page 3 of 19 PageID #: 997




                                                                            App. 007
Case 5:23-cv-00032-RWS Document 59-4 Filed 12/08/23 Page 4 of 19 PageID #: 998




                                                                            App. 008
Case 5:23-cv-00032-RWS Document 59-4 Filed 12/08/23 Page 5 of 19 PageID #: 999




                                                                            App. 009
Case 5:23-cv-00032-RWS Document 59-4 Filed 12/08/23 Page 6 of 19 PageID #: 1000




                                                                            App. 010
Case 5:23-cv-00032-RWS Document 59-4 Filed 12/08/23 Page 7 of 19 PageID #: 1001




                                                                            App. 011
Case 5:23-cv-00032-RWS Document 59-4 Filed 12/08/23 Page 8 of 19 PageID #: 1002




                                                                            App. 012
Case 5:23-cv-00032-RWS Document 59-4 Filed 12/08/23 Page 9 of 19 PageID #: 1003




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Case 5:23-cv-00032-RWS Document 59-4 Filed 12/08/23 Page 10 of 19 PageID #: 1004




                                                                             App. 014
Case 5:23-cv-00032-RWS Document 59-4 Filed 12/08/23 Page 11 of 19 PageID #: 1005




                                                                             App. 015
Case 5:23-cv-00032-RWS Document 59-4 Filed 12/08/23 Page 12 of 19 PageID #: 1006




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Case 5:23-cv-00032-RWS Document 59-4 Filed 12/08/23 Page 13 of 19 PageID #: 1007




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Case 5:23-cv-00032-RWS Document 59-4 Filed 12/08/23 Page 14 of 19 PageID #: 1008




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Case 5:23-cv-00032-RWS Document 59-4 Filed 12/08/23 Page 15 of 19 PageID #: 1009




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Case 5:23-cv-00032-RWS Document 59-4 Filed 12/08/23 Page 16 of 19 PageID #: 1010




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Case 5:23-cv-00032-RWS Document 59-4 Filed 12/08/23 Page 17 of 19 PageID #: 1011




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Case 5:23-cv-00032-RWS Document 59-4 Filed 12/08/23 Page 18 of 19 PageID #: 1012




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Case 5:23-cv-00032-RWS Document 59-4 Filed 12/08/23 Page 19 of 19 PageID #: 1013




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